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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

MAURICE HENRY,
       Plaintiff,
v.                                              Case No. 4:20-cv-561-AW-MAF
WALT McNEIL, et al.,
     Defendants.
_______________________________/
         ORDER ADOPTING REPORT AND RECOMMENDATION

       I have considered the magistrate judge’s February 16 Report and

Recommendation. ECF No. 10. No objections have been filed. I have determined

the Report and Recommendation should be adopted, and it is now incorporated into

this order. The clerk will enter a judgment that says, “This case is dismissed for

failure to prosecute and failure to comply with court orders.” The clerk will then

close the file.

       SO ORDERED on March 20, 2021.

                                     s/ Allen Winsor
                                     United States District Judge
